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                                   UNITED STATES DISTRICT COURT
                                 FOR THE WESTERN DISTRICT OF TEXAS
                                          WACO DIVISION


           Decapolis Systems, LLC,

                          Plaintiff                            Case No. 6:21-cv-_____
                                                                                0607


                          v.                                   Jury Trial Demanded


           Medical Software Solutions, Inc.,

                          Defendant


                          ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

        Decapolis Systems, LLC (“Plaintiff”) hereby files this Original Complaint for Patent Infringement

against Medical Software Solutions, Inc. a/k/a Euclid (“Euclid” or “Defendant”), and alleges, upon information

and belief, as follows:

                                               THE PARTIES

   1.      Decapolis Systems, LLC is a limited liability company organized and existing under the laws of the

           State of Florida with its principal place of business at: Decapolis Systems, LLC, 600 S. Dixie Hwy,

           #605, West Palm Beach, Florida 33401.

   2.      Upon information and belief, Defendant is a corporation organized and existing under the laws of the

           State of Texas with its principal place of business at 7411 Sugar Maple Drive, Irving, Texas 75063.

           On information and belief, Defendant may be served through its registered agent in the State of

           Texas: Paresh Thakker at 6363 North State Highway 161, Suite 575, Irving, Texas 75038.

                                       JURISDICTION AND VENUE

   3.      This Court has subject matter jurisdiction over this case under 28 U.S.C. §§ 1331 and 1338.

   4.      This Court has personal jurisdiction over Defendant. Defendant has continuous and systematic

           business contacts with the State of Texas. Defendant transacts business within this District and
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     elsewhere in the State of Texas and has appointed an agent for service of process in Texas. Further,

     this Court has personal jurisdiction over Defendant based on its commission of one or more acts of

     infringement of Decapolis’ Patents in this District and elsewhere in the State of Texas.

5.   Defendant directly conducts business extensively throughout the State of Texas, by distributing,

     making, using, offering for sale, selling, and advertising (including the provision of interactive web

     pages; the provision and support of physician networks; the provision and support of customer

     accounts; and further including maintaining physical facilities) its services in the State of Texas and

     in this District. Defendant has purposefully and voluntarily made its business services, including the

     infringing systems and services, available to residents of this District and into the stream of

     commerce with the intention and expectation that they will be purchased and/or used by consumers

     in this District. On information and belief, Defendant is a provider of: (i) health services, (ii) billing

     services; (iii) physician and hospital account services; and/or (iv) patient records in electronic

     format, throughout the United States.

6.   On information and belief and as shown in Figure 1, Defendant maintains physical brick-and-mortar

     business locations in the State of Texas and within this District, retains employees specifically in this

     District for the purpose of servicing customers in this District, and generates substantial revenues

     from its business activities in this District.
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Figure 1 – Screenshot of Linkedin result for Defendant’s employee located in Austin, Texas as visited on
June 7, 2021 and located at https://www.linkedin.com/company/medical-software-
solutions/people/?facetGeoRegion=us%3A64.


   7.     Venue is proper in the Western District of Texas as to Defendant pursuant to at least 28 U.S.C. §§

          1391(c)(2) and 1400(b). As noted above, Defendant maintains a regular and established business

          presence in this District.

                                             PATENTS-IN-SUIT

   8.     Plaintiff is the sole and exclusive owner, by assignment, of U.S. Patents 7,464,040 and 7,490,048

          (hereinafter collectively referred to as “the Decapolis Patents”).

   9.     By written instruments duly filed with the United States Patent and Trademark Office, Decapolis is

          assigned all rights, title, and interest in the Decapolis Patents. Id. Such Assignments are recorded in

          the records of the United States Patent and Trademark Office at Reel 055516 and Frame 0027. As

          such, Plaintiff Decapolis Systems, LLC has sole and exclusive standing to assert the Decapolis

          Patents and to bring these causes of action.

   10.    The Decapolis Patents are valid, enforceable, and were duly issued in full compliance with Title 35

          of the United States Code.

   11.    Raymond A. Joao is the sole named inventor for the Decapolis Patents.

   12.    Mr. Joao is a pioneering inventor. The Decapolis Patents represent substantial technological

          advancements in the medical billing services industry, which were unconventional at the time of
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      invention. Indeed, the Decapolis Patents have been back-cited in patents issued to well-known

      industry leaders, including: IBM, Siemens AG, Walgreens, McKesson, and Sony.

13.   Additional companies have benefited from, and been provided notice through, their back-citations to

      the Decapolis Patents, including: Atirix Medical Systems, Inc.; IBM Corp.; Bard Peripheral

      Vascular, Inc.; General Electric Company; C.R. Bard, Inc.; Healthunity Corp., Epic Systems Corp.;

      Accelere, Inc.; Align Technology, Inc.; Siemens Aktiengesellschaft; Vital Data Technology, LLC;

      Hospira, Inc.; Medical Present Value, Inc.; PSYWARE GmbH; ICU Medical, Inc.; Elwha LLC;

      Advanced Healthcare Systems, Inc.; Quality Standards, LLC; Therap Services, LLC; and Devicor

      Medical Products, Inc.

14.   The Decapolis Patents each include numerous claims defining distinct inventions. No single claim is

      representative of any other.

15.   The priority date of each of the Decapolis Patents is at least as early as December 12, 1999. As of the

      priority date, the inventions as claimed were novel, non-obvious, unconventional, and non-routine.

      Indeed, the Decapolis Patents overcame a number of specific technological problems in the industry,

      and provided specific technological solutions.

16.   By way of example, as of the date of invention, “Doctors or providers may base their diagnoses

      and/or treatments, [relying on] patients who usually supply this information on questionnaires or

      forms just prior to seeing the healthcare provider and/or during a preliminary interview with the

      provider.” See U.S. Patent No. 7,464,040, Col. 1, ll. 52-6. As a result, the “information obtained

      from these questionnaires or forms, as well as from these preliminary interviews with the providers,

      may not necessarily result in sufficient, comprehensive, and/or accurate, information being obtained

      regarding the patient.” Id., Col.1, ll. 56-60. Further, as of the date of invention: “there is no

      guarantee that the same [patient medical history] information will be provided, in a uniform manner,

      to a next or different provider. As a result, patient information may not be uniformly distributed

      and/or be available to providers at the point of treatment and/or otherwise.” Id. “Another problem
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      which exists in the current healthcare system is that doctors or other providers do not always have

      the latest information and/or research material available to them prior to, and/or during, the diagnosis

      and/or treatment process.” Id., Col. 1, ll. 60-5.

17.   Further, at the time of the invention, it had “been estimated that between 44,000 and 98,000

      individuals die in the United States alone, as the result of errors or mistakes made by doctors,

      healthcare providers, and/or healthcare facility workers. There is no doubt that many of these deaths

      result from inaccurate and/or erroneous information and/or the lack of the availability of correct

      and/or up-to-date information.” Id., Col. 1, ll. 43-49.

18.   The Decapolis Patents overcame these technological problems by a method or apparatus wherein a

      “medical doctor will transmit [a] final diagnosis and treatment plan…to [a] central processing

      computer” and wherein “the central processing computer [sic] will then update the patient's records

      in the database [sic] so as to include all of the data and information described as being processed

      and/or generated by the central processing computer [sic], including, but not limited to the patient's

      symptoms, if any, the examination findings, the information contained in the diagnostic report and

      the treatment report, the final diagnosis and the prescribed treatment. Thereafter, operation [sic] will

      cease [sic]. The patient's records will then be updated and be available for the patient's next treatment

      and/or diagnosis.” Id., Cols. 28, ll. 66-7 and Col. 29, ll. 10-2.

19.   The claims of the Decapolis Patents are patent eligible under 35 U.S.C. § 101, 102, 103, and 112, as

      reflected by the fact that three different Patent Examiners all agreed and allowed the Decapolis

      Patents over extensive prior art as disclosed and of record during the prosecution of the Decapolis

      Patents. See Stone Basket Innov. v. Cook Medical, 892 F.3d 1175, 1179 (Fed. Cir. 2018) (“when

      prior art is listed on the face of a patent, the examiner is presumed to have considered it”) (citing

      Shire LLC v. Amneal Pharm., LLC, 802 F.3d 1301, 1307 (Fed. Cir. 2015)); Exmark Mfg. v. Briggs &

      Stratton, 879 F.3d 1332, 1342 (Fed. Cir. 2018).
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20.   Moreover, any arguments relating to eligibility as may be made by Defendant here are necessarily

      merely cumulative with those already considered, and rejected, by the Patent Examiners in allowing

      the Decapolis Patents. See, e.g., Technology Licensing Corp. v. Videotek, Inc., 545 F.3d 1316, 1337

      (Fed. Cir. 2008); Stone Basket, 892 F.3d at 1179.

21.   As further evidence of the unconventionality of the technological solutions captured in the claims of

      the Decapolis Patents as of 1999, the United States of America, Department of the Army even cites

      to the Decapolis Patents.

22.   As noted, the claims of the Asserted Patent Claims have priority to at least December 18, 1999.

23.   The claims of the Asserted Patents are not drawn to laws of nature, natural phenomena, or abstract

      ideas. Although the systems and methods claimed in the Asserted Patents are ubiquitous now (and,

      as a result, are widely infringed), the specific combinations of elements, as recited in the claims,

      were not conventional or routine at the time of the invention.

24.   Further, the claims of the Asserted Patents contain inventive concepts. Even if a court ruled the

      underlying aspects to be abstract, the inventive concepts disclosed in sufficient detail would

      transform the claims into patent-eligible subject matter.

25.   The claims of the Decapolis Patents were investigated by the Patent Examiners in fields exactly

      relevant to the patented inventions.

26.   More specifically, the Patent Examiners performed for patent eligibility, including novelty, an

      analysis of the claims of the Decapolis Patents in at least the 600/300 (Diagnostic Testing), 705/2-4

      (Health care management; Healthcare record management; and Patient record management), and

      715/530 (Data Processing)

27.   As further evidence of the inventive nature of the inventions claimed in the Decapolis Patents, the

      Decapolis Patents each had at least 135 citations before being issued as valid and enforceable

      patents.
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28.   After giving full proper credit to the prior art and having conducted a thorough search for all relevant

      art and having fully considered the most relevant art known at the time, the United States Patent

      Examiners allowed all of the claims of the Decapolis Patents to issue. In so doing, it is presumed

      that Examiners used their knowledge of the art when examining the claims. See K/S Himpp v. Hear-

      Wear Techs., LLC, 751 F.3d 1362, 1369 (Fed. Cir. 2014). It is further presumed that Patent

      Examiners had experience in the field of the invention, and that the Patent Examiners properly acted

      in accordance with a person of ordinary skill. In re Sang Su Lee, 277 F.3d 1338, 1345 (Fed. Cir.

      2002).

29.   The claims of the Decapolis Patents are novel and non-obvious, including over all non-cited art that

      is merely cumulative with the referenced and cited prior art. See 37 C.F.R. § 1.56(b) (information is

      material to patentability when it is not cumulative to information already of record in the

      application); see also AbbVie Deutschland GmbH v. Janssen Biotech, 759 F.3d 1285, 1304 (Fed. Cir.

      2014); In re DBC, 545 F.3d 1373, 1382 (Fed. Cir. 2008). Likewise, the claims of the Decapolis

      Patents are novel and non-obvious, including over all non-cited contemporaneous state of the art

      systems and methods, all of which would have been known to a person of ordinary skill in the art,

      and which were therefore presumptively also known and considered by the Examiners. See, e.g., St.

      Clair I.P. Consultants v. Canon, Inc., 2011 WL 66166 at *6 (Fed. Cir. 2011); In re Sang Su Lee, 277

      F.3d 1338, 1345 (Fed. Cir. 2002); In re Koninklijke Philips Patent Litigation, 2020 WL 7392868 at

      *19 (N.D. Cal. 2020); Standard Oil v. American Cyanamid, 774 F.2d 448, 454 (Fed. Cir. 1985)

      (persons of ordinary skill are presumed to be aware of all pertinent prior art).

30.   The claims of the Asserted Patents were all properly issued, and are valid and enforceable for the

      respective terms of their statutory life through expiration, and are enforceable for purposes of

      seeking damages for past infringement even post-expiration. See, e.g., Genetics Institute, LLC v.

      Novartis Vaccines and Diagnostics, Inc., 655 F.3d 1291, 1299 (Fed. Cir. 2011) (“[A]n expired patent

      is not viewed as having ‘never existed.’ Much to the contrary, a patent does have value beyond its
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           expiration date. For example, an expired patent may form the basis of an action for past damages

           subject to the six-year limitation under 35 U.S.C. § 286.”) (internal citations omitted).

                                  THE ACCUSED INSTRUMENTALITIES

31.        Upon information and belief, Defendant makes, sells, advertises, offers for sale, uses, or otherwise

           provides a plurality of systems, platforms and services, including but not limited to:

      i.      Euclid Revenue Cycle Management (“Euclid”): On information and belief, the Euclid platform

              and solution is a could-based healthcare revenue cycle management billing system and

              software for billing service companies, regardless of the electronic heal record (“EHR”)

              system, healthcare providers, and hospitals. Euclid provides this system and software for

              billing, data analytics, eligibility and claim testing, integration with payers and EHRs, claim

              processing and submissions, scheduling, and patient insurance coverage checks. It includes

              features as shown below in Figures 2 through 6.




           Figure 2 – Screenshot of Defendant’s webpage for Euclid as visited on June 7, 2021 and located at
           https://medsoftwaresolutions.com/.
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Figure 3 – Screenshot of Defendant’s webpage for Euclid as visited on June 7, 2021 and located at
https://medsoftwaresolutions.com/home/experience.




Figure 4 – Screenshot of Defendant’s webpage for Euclid as visited on June 7, 2021 and located at
https://medsoftwaresolutions.com/home/experience.
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  Figure 5 – Screenshot of Defendant’s webpage for Euclid as visited on June 7, 2021 and located at
  https://medsoftwaresolutions.com/home/overview.




Figure 6 – Screenshot of Defendant’s of features for Euclid as visited on June 7, 2021 and located at
https://medsoftwaresolutions.com/home/overview.
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        ii. And all augmentations to these named Euclid platforms or descriptions of platforms.

        Collectively, all of the foregoing are referred to herein as the “Accused instrumentalities.”


                                              COUNT I
                               Infringement of U.S. Patent No. 7,490,048

  32.      Plaintiff incorporates the above paragraphs by reference.

  33.      Defendant has been on actual notice of the ’048 Patent at least as early as the date it received

           service of the Original Complaint in this litigation.

  34.      The damages period begins at least as early as six years prior to the date of service of the

           Original Complaint in this litigation.

  35.      Upon information and belief, Defendant owns, directs, and/or controls the operation of the

           Accused Instrumentalities and generates substantial financial revenues and benefits

           therefrom.

  36.      Upon information and belief, Defendant has directly infringed and continues to directly

           infringe at least Claims 1, 2, 10, 20, 22, 23, 24, 25, 26, 27, 28, 29, 30, 31, 32, 33, 34, 35, 36,

           37, 38, 39, and 40 of the ’048 Patent. As exemplary, Claim 20 is by making, using,

           importing, selling, and/or offering for sale the Accused Instrumentalities. Defendant directly

           makes the infringing Accused Instrumentalities at least because it is solely responsible for

           putting the infringing systems into service by directing or controlling the systems as a whole

           and by obtaining the benefits therefrom. More specifically, and on information and belief,

           with respect to the Accused Instrumentalities, Defendant: (i) executed contracts with third

           party servicers for the provision of archival services and databases for healthcare and related

           records and/or designed and assembled such archival services and databases using its own

           employees and/or contractors; (ii) developed, owns, and maintains digital storage archives


ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                11
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        for healthcare and related records; (iii) provides access to such records via its own branded

        Internet domains and/or software applications using its own name and business trade dress;

        (iv) exercises authority over the provision of such record archival services and databases; (v)

        openly advertises and promotes such record archival services and databases bearing its name

        and business trade dress to customers in the United States; (vi) authored or commissioned the

        preparation of computer code for accessing and retrieving stored and/or archived healthcare

        records via its Internet domain web pages and/or software applications; (vii) claims

        ownership and control over such stored and/or archived healthcare records by virtue of its

        corporate branding and the provision of direct access; and (viii) receives monetary benefits

        from the provision of such healthcare records storage, archival, and retrieval services to

        customers.

  37.   Further on information and belief, Defendant directly uses the infringing Accused

        Instrumentalities at least because it assembled the combined infringing elements and makes

        them collectively available in the United States, including via its Internet domain web pages

        and/or software applications, as well as via its internal systems and interfaces. Further, and

        on information and belief, Defendant has directly infringed by using the infringing Accused

        Instrumentalities as part of its ongoing and regular testing and/or internal legal compliance

        activities. Such testing and/or legal compliance necessarily requires Defendant to make and

        use the Accused Instrumentalities in an infringing manner. Still further, Defendant is a direct

        infringer by virtue of its branding and marketing activities, which collectively comprise the

        sale and offering for sale of the infringing Accused Instrumentalities.

  38.   More specifically, and on information and belief, Defendant is making, using, and offering

        for sale a computer-implemented method, identified as the Accused Instrumentalities,

ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                          12
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        comprising: receiving information regarding a restriction or limitation regarding an ability of

        a person or an entity to at least one of access, obtain, change, alter, and modify, information

        contained in an individuals or patients healthcare record or an individual’s or patients

        healthcare file, wherein the individuals or patient’s healthcare record or the individuals or

        patient’s healthcare file contains healthcare information or healthcare-related information

        personal to the individual or patient.

  39.   As the video and Figures 3-7 show above, Defendant is making, using, and offering for sale a

        computer-implemented method and apparatus, identified as the Accused Instrumentalities.

  40.   Additionally, the Accused Instrumentalities are specially configured such that they perform a

        method wherein the restriction or limitation contains information regarding at least one of a

        healthcare provider, a healthcare payer, a healthcare insurer, and an authorized entity, and

        information regarding a designated purpose for allowing each of the at least one of a

        healthcare provider, a healthcare payer, a healthcare insurer, and an authorized entity, to at

        least one of access, obtain, change, alter, and modify, the information contained in an

        individuals or patients healthcare record or an individual’s or patient’s healthcare file,

        wherein the designated purpose is at least one of to perform a diagnosis, to perform a

        diagnosis for a certain ailment, illness, or symptom, to provide a second opinion, to verify or

        disprove a condition or a pre-existing condition, to submit an insurance claim, and to process

        an insurance claim.

  41.   Defendant’s infringing methods each separately, are storing the information regarding a

        restriction or limitation regarding an ability of a person or an entity to at least one of access,

        obtain, change, alter, and modify, the information contained in an individuals or patient’s

        healthcare record or an individual’s or patient’s healthcare file; processing, with a processor,

ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                             13
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        a request by a person or an entity to at least one of access, obtain, change, alter, and modify,

        the information contained in an individuals or patient’s healthcare record or an individual’s

        or patient’s healthcare file; determining, using the information regarding the restriction or

        limitation, whether the person or the entity is allowed or authorized to at least one of access,

        obtain, change, alter, and modify, the information contained in an individual’s or patient’s

        healthcare record or an individuals or patient’s healthcare file; generating a message

        containing at least one of information regarding the person or the entity making the request,

        and identification information regarding the person or the entity making the request, and

        further wherein the message contains an actual change, alteration, or modification, made to

        the information contained in an individual’s or patients healthcare record or an individuals or

        patient’s healthcare file; and transmitting the message to a communication device of the

        individual or patient via, on, or over, a communication network.

  42.   Additionally, upon information and belief, Defendant owns, directs, and/or controls the

        infringing method operation of the Accused Instrumentalities that includes wherein the

        message is transmitted to the communication device of the individual or patient at least one

        of during, concurrently with, at a same time as, and prior to a completion of an at least one of

        an accessing, an obtaining, a changing, an altering, and a modifying, of the information

        contained in an individuals or patient’s healthcare record or an individual’s or patients

        healthcare file by the person or the entity, or at least one of during, concurrently with, at a

        same time as, and prior to a completion of a processing of the request to at least one of

        access, obtain, change, alter, and modify, the information contained in an individuals or

        patient’s healthcare record or an individual’s or patient’s health care file.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                           14
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  43.   On information and belief, the infringement of the Decapolis Patents by Defendant will now

        been willful through the filing and service of this Complaint.

  44.   In addition or in the alternative, Defendant now has knowledge and continues these actions

        and it indirectly infringes by way of inducing direct infringement by others and/or

        contributing to the infringement by others of the ’048 Patent in the State of Texas, in this

        judicial district, and elsewhere in the United States, by, among other things, making, using,

        importing, offering for sale, and/or selling, without license or authority, infringing services

        for use in systems that fall within the scope of at least Claims 1, 2, 10, 20, 22, 23, 24, 25, 26,

        27, 28, 29, 30, 31, 32, 33, 34, 35, 36, 37, 38, 39, and 40 of the ’048 Patent. This includes

        without limitation, one or more of the Accused Instrumentalities by making, using, importing

        offering for sale, and/or selling such services, Defendant injured Decapolis and is thus liable

        to Decapolis for infringement of the ’048 Patent under 35 U.S.C. § 271.

  45.   Now with knowledge of the Decapolis Patents, Defendant induces infringement under Title

        35 U.S.C. § 271(b). Defendant will have performed actions that induced infringing acts that

        Defendant knew or should have known would induce actual infringements. See Manville

        Sales Corp. v. Paramount Sys., Inc., 917 F.2d 544, 553 (Fed.Cir.1990), quoted in DSU Med.

        Corp. v. JMS Co., 471 F.3d 1293, 1306 (Fed.Cir.2006) (en banc in relevant part). “[A]

        finding of inducement requires a threshold finding of direct infringement—either a finding of

        specific instances of direct infringement or a finding that the accused products necessarily

        infringe.” Ricoh, 550 F.3d at 1341 (citing ACCO Brands, Inc. v. ABA Locks Manufacturer

        Co., 501 F.3d 1307, 1313, (Fed. Cir. 2007).

  46.   Plaintiff will rely on direct and/or circumstantial evidence to prove the intent element. See

        Fuji Photo Film Co. v. Jazz Photo Corp., 394 F.3d 1368, 1377 (Fed. Cir. 2005) (“A patentee

ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                             15
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        may prove intent through circumstantial evidence.”); Water Techs. Corp. v. Calco, Ltd., 850

        F.2d 660, 668 (Fed. Cir. 1988) (“While proof of intent is necessary, direct evidence is not

        required; rather, circumstantial evidence may suffice.”).

  47.   Defendant has taken active steps to induce infringement, such as advertising an infringing

        use, which supports a finding of an intention for the accused product to be used in an

        infringing manner. See Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913,

        932, 125 S. Ct. 2764, 162 L. Ed. 2d 781 (2005) (explaining that the contributory

        infringement doctrine “was devised to identify instances in which it may be presumed from

        distribution of an article in commerce that the distributor intended the article to be used to

        infringe another’s patent, and so may justly be held liable for that infringement”).

  48.   In addition, on information and belief, and based in part upon the clear infringement by the

        Accused Instrumentalities, Defendant has a practice of not performing a review of the patent

        rights of others first for clearance or to assess infringement thereof prior to launching

        products and services. As such, Defendant has been willfully blind to the patent rights of

        Plaintiff.

  49.   The foregoing infringement on the part of Defendant has caused past and ongoing injury to

        Plaintiff.   The specific dollar amount of damages adequate to compensate for the

        infringement shall be determined at trial but is in no event less than a reasonable royalty from

        the date of first infringement to the expiration of the Decapolis Patents.

  50.   Each of Defendant’s aforesaid activities have been without authority and/or license from

        Plaintiff.

                                         COUNT II
                           Infringement of U.S. Patent No. 7,464,040

  51.   Plaintiff incorporates the above paragraphs by reference.
ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                           16
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  52.   Defendant has been on actual notice of the ’040 Patent at least as early as the date it received

        service of the Original Complaint in this litigation.

  53.   The infringement damages period begins at least as early as six years prior to the date of

        service of the Original Complaint in this litigation.

  54.   The ’040 patent application claims the benefit of priority of U.S. Provisional Patent

        Application Ser. No. 60/286,422, filed April 25, 2001, titled “APPARATUS AND

        METHOD       FOR     PROCESSING         AND/OR          FOR   PROVIDING     HEALTH       CARE

        INFORMATION AND/OR HEALTHCARE-RELATED INFORMATION,” the subject

        matter and teachings of which are hereby incorporated by reference herein.

  55.   Upon information and belief, Defendant owns, directs, and/or controls the operation of the

        Accused Instrumentalities and generates substantial financial revenues and benefits

        therefrom.

  56.   Upon information and belief, Defendant has directly infringed and continues to directly

        infringe at least Claims 1 and 46 of the ’040 Patent by making, using, importing, selling,

        and/or offering for sale the Accused Instrumentalities.         Defendant directly makes the

        infringing Accused Instrumentalities at least because it is solely responsible for putting the

        infringing systems into service by directing or controlling the systems as a whole and by

        obtaining the benefits therefrom. More specifically, and on information and belief, with

        respect to the Accused Instrumentalities, Defendant: (i) executed contracts with third party

        servicers for the provision of archival services and databases for healthcare and related

        records and/or designed and assembled such archival services and databases using its own

        employees and/or contractors; (ii) developed, owns, and maintains digital storage archives

        for healthcare and related records; (iii) provides access to such records via its own branded

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        Internet domains and/or software applications using its own name and business trade dress;

        (iv) exercises authority over the provision of such record archival services and databases; (v)

        openly advertises and promotes such record archival services and databases bearing its name

        and business trade dress to customers in the United States; (vi) authored or commissioned the

        preparation of computer code for accessing and retrieving stored and/or archived healthcare

        records via its Internet domain web pages and/or software applications; (vii) claims

        ownership and control over such stored and/or archived healthcare records by virtue of its

        corporate branding and the provision of direct access; and (viii) receives monetary benefits

        from the provision of such healthcare records storage, archival, and retrieval services to

        customers.

  57.   Further on information and belief, Defendant directly uses the infringing Accused

        Instrumentalities at least because it assembled the combined infringing elements and makes

        them collectively available in the United States, including via its Internet domain web pages

        and/or software applications, as well as via its internal systems and interfaces. Further, and

        on information and belief, Defendant has directly infringed by using the infringing Accused

        Instrumentalities as part of its ongoing and regular testing and/or internal legal compliance

        activities. Such testing and/or legal compliance necessarily requires Defendant to make and

        use the Accused Instrumentalities in an infringing manner. Still further, Defendant is a direct

        infringer by virtue of its branding and marketing activities which collectively comprise the

        sale and offering for sale of the infringing Accused Instrumentalities.

  58.   More specifically, and on information and belief, the Accused Instrumentalities, each

        separately, receives information regarding an individual, wherein the information regarding

        an individual is transmitted from a first computer or from a first communication device,

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        wherein the first computer or the first communication device is associated with a healthcare

        provider, wherein the information regarding an individual is transmitted via, on, or over, at

        least one of the Internet and the World Wide Web, wherein the information regarding an

        individual contains information regarding at least one of a symptom, an examination finding,

        a diagnosis, a treatment, an administration of a treatment, and a procedure; a database or a

        memory device, wherein the database or the memory device is associated with the receiver

        and is located at a location remote from the first computer or remote from the first

        communication device, wherein the database or the memory device stores information

        regarding a plurality of individuals, a plurality of healthcare providers, and a plurality of

        healthcare insurers or healthcare payers.

  59.   The Accused Instrumentalities each separately, use the information regarding a plurality of

        individuals, a plurality of healthcare providers, and/or a plurality of healthcare insurers or

        healthcare payers, which includes a healthcare record or a healthcare history of, for, or

        associated with, each individual of a plurality of individuals, along with a healthcare record

        or a healthcare history of, for, or associated with, the individual, information regarding a

        healthcare practice of, and an insurance accepted by, each of the plurality of healthcare

        providers, including information regarding a healthcare practice of, and an insurance

        accepted by, the healthcare provider, information for processing or for storing information

        regarding a healthcare diagnosis or a healthcare treatment, and information for submitting an

        insurance claim to a healthcare insurer or a healthcare payer associated with the individual.

  60.   Upon information and belief, Defendant owns, directs, and/or controls the operation of the

        Accused Instrumentalities that includes a processing device, wherein the processing device

        processes the information regarding an individual, and further wherein the processing device

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        processes information for at least one of storing the information regarding an individual in

        the database or the memory device and updating the healthcare record or the healthcare

        history of, for, or associated with, the individual, and further wherein the processing device

        automatically generates an insurance claim in response to the storing of the information

        regarding an individual in the database or the memory device or the updating of the

        healthcare record or the healthcare history of, for, or associated with, the individual, wherein

        the insurance claim is suitable for being automatically submitted to the healthcare insurer or

        the healthcare payer associated with the individual or is suitable for being automatically

        transmitted to a second computer or to a second communication device, wherein the second

        computer or the second communication device is associated with the healthcare insurer or the

        healthcare payer associated with the individual, and further wherein the processing device

        transmits the insurance claim to the second computer or to the second communication device.

  61.   As the video and Figures 3-7 show above, Defendant is making, using, and offering for sale a

        computer-implemented method and apparatus, identified as the Accused Instrumentalities.

  62.   On information and belief, the infringement of the Decapolis Patents by Defendant is now

        willful and continues to be willful through the filing and service of this Complaint.

  63.   In addition or in the alternative, now with knowledge of the Decapolis Patents, Defendant

        induces direct infringement by others and/or contributing to the infringement by others of the

        ’040 Patent in the State of Texas, in this judicial district, and elsewhere in the United States,

        by, among other things, making, using, importing, offering for sale, and/or selling, without

        license or authority, infringing services for use in systems that fall within the scope of at least

        Claims 1 and 46 of the ’040 Patent. This includes without limitation, one or more of the

        Accused Instrumentalities by making, using, importing offering for sale, and/or selling such

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        services, Defendant injured Decapolis and is thus liable to Decapolis for infringement of the

        ’040 Patent under 35 U.S.C. § 271.

  64.   Defendant now actively induces infringement under Title 35 U.S.C. § 271(b). Defendant’s

        actions induce infringing acts that Defendant knew or should have known would induce

        actual infringements. See Manville Sales Corp. v. Paramount Sys., Inc., 917 F.2d 544, 553

        (Fed.Cir.1990), quoted in DSU Med. Corp. v. JMS Co., 471 F.3d 1293, 1306 (Fed.Cir.2006)

        (en banc in relevant part). “[A] finding of inducement requires a threshold finding of direct

        infringement—either a finding of specific instances of direct infringement or a finding that

        the accused products necessarily infringe.” Ricoh, 550 F.3d at 1341 (citing ACCO Brands,

        Inc. v. ABA Locks Manufacturer Co., 501 F.3d 1307, 1313, (Fed. Cir. 2007).

  65.   Plaintiff will rely on direct and/or circumstantial evidence to prove the intent element. See

        Fuji Photo Film Co. v. Jazz Photo Corp., 394 F.3d 1368, 1377 (Fed. Cir. 2005) (“A patentee

        may prove intent through circumstantial evidence.”); Water Techs. Corp. v. Calco, Ltd., 850

        F.2d 660, 668 (Fed. Cir. 1988) (“While proof of intent is necessary, direct evidence is not

        required; rather, circumstantial evidence may suffice.”).

  66.   If Defendant continues these actions as of this Complaint, Defendant will have taken active

        steps to induce infringement, such as advertising an infringing use, which supports a finding

        of an intention for the accused product to be used in an infringing manner. See Metro-

        Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 932, 125 S. Ct. 2764, 162 L.

        Ed. 2d 781 (2005) (explaining that the contributory infringement doctrine “was devised to

        identify instances in which it may be presumed from distribution of an article in commerce

        that the distributor intended the article to be used to infringe another’s patent, and so may

        justly be held liable for that infringement”).

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   67.        In addition, on information and belief, and based in part upon the clear infringement by the

              Accused Instrumentalities, Defendant has a practice of not performing a review of the patent

              rights of others first for clearance or to assess infringement thereof prior to launching

              products and services. As such, Defendant has been willfully blind to the patent rights of

              Plaintiff.

   68.        The foregoing infringement on the part of Defendant has caused past and ongoing injury to

              Plaintiff.   The specific dollar amount of damages adequate to compensate for the

              infringement shall be determined at trial but is in no event less than a reasonable royalty from

              the date of first infringement to the expiration of the Decapolis Patents.

   69.        Each of Defendant’s aforesaid activities have been without authority and/or license from

              Plaintiff.

                                           PRAYER FOR RELIEF

         WHEREFORE, Decapolis Systems, LLC respectfully requests the Court enter judgment against

Defendant as follows:

         1.       Declaring that Defendant has infringed each of the Asserted Patents;

         2.       Awarding Decapolis Systems, LLC its damages suffered because of Defendant’s

                  infringement of the Asserted Patents;

         3.       Enter a judgment awarding treble damages pursuant to 35 U.S.C. §284 for Defendant’s

                  willful infringement of one or more of the Decapolis Patents;

         4.       Awarding Decapolis Systems, LLC its costs, reasonable attorneys’ fees, expenses, and

                  interest; and

         5.       Granting Decapolis Systems, LLC such further relief as the Court finds appropriate.




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                                       JURY DEMAND

     Decapolis Systems, LLC demands trial by jury, under Fed. R. Civ. P. 38.


                                                Respectfully Submitted

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